           Case 3:19-cv-00161-MMD-CLB Document 56 Filed 11/10/21 Page 1 of 3




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      Deputy Attorney General
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     Tel: (775) 684-1159
 5   E-mail: savillo@ag.nv.gov
 6   Attorneys for D efendants
     Renee Baker and Teruy Lindberg
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 I                                   UNITED STATES DISTRICT COURT
10                                            DISTRICT OF NEVADA
11
     JAMES BARKER,
                                                                  Case   No.   3 :1   9-cv-00161-MMD-CLB
12
                            Plaintiff,
13                                                            STIPULATION AND ORDER TO DISMISS
     vs.
                                                                       WITH PREJUDICE
t4   BAKER, etaI.,
15
                            Defendants
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              IT IS HEREBY STIPULATED by and between James Barker, in proper person, and Defendants
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     Renee Baker and Terry Lindberg by and through counsel, Aaron D. Ford, Attomey General of the
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     State of Nevada, and Stephen J.     Avillo, Deputy Attorney General, hereby stipulate and agree, based on
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     the Settlement Agreement between the parties, that the above-captioned action should be dismissed
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     with prejudice by order of the Court, with each party to bear its own costs.
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           Case 3:19-cv-00161-MMD-CLB Document 56 Filed 11/10/21 Page 2 of 3




 1    DArED tti,TTthduv         ,f 01   2021       DATED this       N       day   of   J/    ,2021
 2
 o
 D                                                 AARON D. FORD
                                                   Attomey General
 4
                                                                                   Br*   b   ,3kLst

 5    By                                           By
                      BARKER                                       J,        , Bar No. 11046
 6          Plaintiff, Pro Se                           Deputy Attorney General
 F7
                                                        Attorneys   for   D efendants
 I


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 9                                                 IT IS SO ORDERED
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11
                                                   U.S. DISTRICT JUDGE
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13                                                              11/10/2021
                                                   DATED:
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                                              55 Filed 11/10/21
                                                       11/09/21 Page 3 of 3



 1                                         CERTIFICATE OF SERYICE
 2           I certifu that I am an employee of the Offrce of the Attorney General,   State of Nevada, and that

 J   on   this$     day of November, 2021,I caused to be served, a true and correct copy of the foregoing,

 4   STIPULATION AND ORDER TO DISMISS WITH PREJUDICE, by U.S. District Court Cl\4/ECF
 5   Electronic Filing on the following:

 6   James S. Barker, #II33703
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11
                                                            An employee of the
                                                            Office of the Attomey General
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